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                                              Memorandum

                                               June 26, 2023



   To:      Judge David Guten
   From: Lora Howard, First Assistant, Tulsa County Public Defender's Office & Erik Grayless,

            First Assistant, Tulsa County District Attorney' s Office

   RE:      Weekend and Holiday bond docket



   Judge,



   As the respective First Assistants of our offices, we have discussed the possibility of curtailing
   weekend and holiday bond docket settings. The Tulsa County Public Defender's Office is
   sustaining a budget cut this year, which will affect staffing levels. Currently, the bond docket is
   running every day, 365 days per year. We are writing to you to suggest the possibility of
   eliminating bond docket settings on Sundays and holidays during which the courthouse is closed,
   as long as those holidays do not result in a delay of more than 48 hours from the previous bond
   docket. We are in agreement that holding a bond hearing within 48 hours of detention meets the
   constitutional requirements. Please let us know if you would like any additional information
   from either or both of our offices.



   Respectfully submitted,




   Lora Howard, First Assistant Public Defender
   Tulsa County Public Defender's Office




   Erik Grayless, First Assistant District Attorney
   Tulsa County District Attorney's Office




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